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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
Teofil Brank                                              CASE NUMBER

                                                                  CV17-3649 JFW        CR15-131(A)JFW
                                            PETITIONER
                           1~/A
United States of America
                                                                  ORDER RE: CERTIFICATE OF
                                                                      APPEALABILITY
                                          RESPONDENT.




        On              6/15/1              ,Petitioner filed a Notice of Appeal and a request for a Certificate
of Appealability pursuant to 28 U.S.C. § 2253. The Court has reviewed the matter.

        IT IS HEREBY ORDERED:

        ❑ The Certificate of Appealability is GRANTED. The specific issues) satisfy §2253(c)(2) as follows:




        D The Certificate of Appealability is DENIED for the following reason(s):
          ~ There has been no substantial showing of the denial of a constitutional right.
          ❑ The appeal seeks to test the validity of a warrant to remove to another district or place for
             commitment or trial
          ❑ The appeal seeks to test the validity of the detention pending removal proceedings.



                    II~'~11~
        Date                                                States District Judge



CV-79(07/97)                         ORDER RE: CERTIFICATE OF APPEALABILITY
